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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   JUAN LOZADA-LEONI,             §
                                  §
         Plaintiff,               §
                                  §
     vs.                          §
                                  §                      Civil Action No. 4:20-cv-68
   MONEYGRAM INTERNATIONAL, INC., §
   and MONEYGRAM PAYMENT          §
   SYSTEMS, INC.,                 §
         Defendants.              §
                                  §
                                  §


              KARDELL LAW GROUP’S MOTION FOR LEAVE TO INTERVENE


        TO THE HONORABLE COURT:

        COMES NOW, Kardell Law Group PC, and submits this, its Motion for Leave to

    Intervene, and would show the Court that intervention is appropriate for the following reasons:

                                                        I.

                                         FACTUAL SUMMARY

        The Kardell Law Group (the law firm) was hired by Juan Lozada-Leoni to represent him

    for retaliation under the Sarbanes Oxley Act on or about September 8, 2017. The Kardell Law

    Group agreed to represent Mr. Lozada-Leoni on a contingency fee basis, and consequently

    expended both money for case expenses as well as attorney and staff time in representing Mr.

    Lozada-Leoni. The contract provided that Mr. Lozada-Leoni assigned a percentage of any

    recovery made on his claims in exchange for the law firm's agreement to represent him in pursuit

    of his claims. Further, Mr. Lozada-Leoni agreed to reimburse the firm for all expenses over



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    $200.00 incurred by the law firm in prosecution of claims on his behalf. Acting under contract, the

    law firm prosecuted Mr. Lozada-Leoni's claims, including instituting this lawsuit on his behalf.

        In spite of the firm's diligent and competent efforts, Mr. Lozada-Leoni unilaterally and

    without good cause, terminated the firm from representing him in his legal action. After

    terminating the firm, Mr. Lozada-Leoni retained Susan Hutchinson and Rafe Foreman of the

    Hutchinson & Stoy.

        The Kardell Law Group seeks to intervene in order to protect its contractual interest in the

    proceeds from this lawsuit.

                                                          II .

                   FEDERAL RULE OF CIVIL PROCEDURE 24 INTERVENTION

        The law firm is entitled to intervene in this case as a matter of right pursuant to Federal

    Rule of Civil Procedure 24(a)(2). The firm seeks to enforce its contractual interest in the

    proceeds of this lawsuit. In addition, disposition of this cause of action without intervention by

    the firm will, as a practical matter, impair or impede the firm's ability to protect its contractual

    interest. It is not believed that Mr. Lozada-Leoni will be able to satisfy his contractual

    obligations to the firm, except through the proceeds of this lawsuit. Finally, the intervenor's

    interest is not being adequately represented by any of the existing parties to this litigation.

        As the Supreme Court noted in Trbovich v. UMW, 92 S.Ct. 630, 636 (1972), the

    requirements of Federal Rule of Civil Procedure 24(a) are satisfied when the applicant for

    intervention shows that representation of his interests "may be" inadequate. The Court went on

    to note that the burden of making this showing should be treated as minimal.

        In this case, in spite of repeated efforts, this issue has not been resolved by agreement. Mr.

    Lozada-Leoni certainly has no interest in enforcing the law firm's contractual rights. Likewise,


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    his current attorneys have no interest in enforcing the law firm's contractual rights .

         Intervention under Federal Rule of Civil Procedure 24(a)(2) is appropriate and should be

    granted.

         WHEREFORE, PREMISES CONSIDERED, the Kardell Law Group respectfully requests

    that its Motion for Leave to Intervene be granted, and that the Court permit its intervention for

    purposes of enforcing its contractual rights, and for such further relief to which it may be

    entitled.

                                            Respectfully submitted,

                                                       s/ Steve Kardell
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                                                       ATTORNEY FOR INTERVENOR



                                               CERTIFICATE OF CONFERENCE

    On October 26, 2020 Proposed Intervenor Steve Kardell, of the KLG, conferred with all counsel
    of record herein.
        • Plaintiff, represented by Hutchison & Stoy, indicated: “Plaintiff objects to any claim by
            Mr. Kardell to attorney fees in this matter. Plaintiff does not object to this Court making
            the determination as to whether Mr. Kardell should recover any fees in this matter.”
        • Defendants, represented by John Barcus, indicated that Defendants take no position on
            this dispute or this Motion.


                                                       /s/ Steve Kardell


                                               CERTIFICATE OF SERVICE



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        I hereby certify that the foregoing document has been transmitted to all counsel of record on
    October 26, 2020.

                                                     /s/ Steve Kardell




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